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                            EXHIBIT D
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                     ASSEMBLY, No. 4769

         STATE OF NEW JERSEY
                      220th LEGISLATURE
                             INTRODUCED OCTOBER 13, 2022



        Sponsored by:
        Assemblyman JOE DANIELSEN
        District 17 (Middlesex and Somerset)
        Assemblyman LOUIS D. GREENWALD
        District 6 (Burlington and Camden)
        Assemblywoman MILA M. JASEY
        District 27 (Essex and Morris)
        Assemblyman JOHN F. MCKEON
        District 27 (Essex and Morris)
        Assemblywoman ELLEN J. PARK
        District 37 (Bergen)




        SYNOPSIS
           Makes various revisions to requirements for obtaining firearm purchaser
        identification card, permit to purchase handgun, and permit to carry handgun;
        codifies sensitive places in which firearms and weapons are prohibited.

        CURRENT VERSION OF TEXT
          As introduced.
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         1   AN ACT concerning the sale and possession of firearms and
         2     supplementing and amending various parts of the statutory law.
         3
         4      BE IT ENACTED by the Senate and General Assembly of the State
         5   of New Jersey:
         6
         7      1. (New section) The Legislature finds and declares that:
         8      a. The decision of the United States Supreme Court in New
         9   York State Rifle & Pistol Association v Bruen holds significant
        10   implications for carrying a handgun in New Jersey and the law
        11   governing the issuance of permits to carry a handgun. The Bruen
        12   decision establishes that states cannot deny permits to carry a
        13   handgun to otherwise-qualified citizens who fail to show that they
        14   have the “proper cause” to carry a handgun. New Jersey law relies
        15   on a similar standard, considering whether an applicant has a
        16   “justifiable need,” in determining whether to issue a permit to carry
        17   a handgun.
        18      b. In accordance with the precedent established in the Bruen
        19   decision, laws requiring showings of particularized need are no
        20   longer legally viable to determine whether a person may carry a
        21   handgun in public. The Bruen decision does make clear, however,
        22   that the Legislature can enact laws to protect our communities from
        23   threats to public health, safety, and welfare posed by gun violence,
        24   which take into account as appropriate the Supreme Court’s Second
        25   Amendment ruling while continuing to promote and enhance public
        26   safety.
        27      c. Statistics show that expanding handgun carrying creates
        28   safety risks, helping to fuel the epidemic of gun violence. For
        29   example, a study by researchers at the Johns Hopkins Bloomberg
        30   School of Public Health found that the estimated average rate of
        31   officer-involved shootings increased by 12.9 percent in ten states
        32   that relaxed restrictions between 2014 and 2020 on civilians
        33   carrying concealed firearms in public. Accordingly, evidence
        34   demonstrates that more guns on the streets can translate into more
        35   acts of gun violence. To mitigate the impact of having more people
        36   carrying guns in public places, steps must be taken to better ensure
        37   that those who exercise the right to carry are responsible, law-
        38   abiding, and appropriately trained individuals who would not pose
        39   undue safety risks if armed in public places.
        40      d. In Bruen, the Supreme Court recognized that states may
        41   prohibit individuals who are not “law-abiding, responsible citizens”
        42   from carrying firearms in public, and endorsed the use of “licensing
        43   requirements for carrying a handgun for self-defense.” Although the
        44   Court did not provide a complete list of lawful requirements, it
        45   specifically cited a “background check, mental health check, training

               EXPLANATION – Matter enclosed in bold-faced brackets [thus] in the above bill is
             not enacted and is intended to be omitted in the law.

               Matter underlined thus is new matter.
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         1   in firearms handling and in laws regarding the use of force, among
         2   other possible requirements” as permissible. The purpose of these
         3   checks, the Court explained, is to “ensure only that those bearing
         4   arms in the jurisdiction are in fact, ‘law-abiding, responsible
         5   citizens.’” It is thus important to bolster and improve the process in
         6   this State for ensuring that only such individuals possess and carry
         7   firearms. Toward that end, this act strengthens the criteria and
         8   background investigation requirements that are used to determine
         9   whether an applicant is qualified to carry a firearm in New Jersey.
        10       e. This act also designates places in which the carrying of a
        11   weapon is prohibited. Previously, application of the justifiable need
        12   standard minimized the serious dangers of misuse and accidental
        13   use inherent in the carrying of handguns in a public place. Given
        14   the likelihood that a much greater number of individuals will now
        15   qualify to carry handguns in public, it is now both necessary and
        16   appropriate to clearly identify in the law those sensitive places
        17   where, due to heightened public safety concerns, carrying a weapon
        18   of any kind, including a handgun, is not permissible. These
        19   prohibitions are based on common sense principles and historical
        20   analogues.
        21       f. Notwithstanding its rejection of a particularized need
        22   standard, the Bruen decision recognizes that the carrying of
        23   firearms in sensitive places can “be prohibited consistent with the
        24   Second Amendment.” Indeed, the Court assumed it settled that
        25   “laws forbidding the carrying of firearms in sensitives places such
        26   as schools and government buildings,” as well other places such as
        27   “legislative assemblies, polling places, and courthouses,” are
        28   “longstanding” and not subject to disputes regarding their
        29   constitutionality. The Court added that other “sensitive place”
        30   regulations may be permissible if “consistent with the Second
        31   Amendment’s text and historical understanding” – that is,
        32   “relevantly similar” to historical analogues.
        33       g. The sensitive-place prohibitions on dangerous weapons set
        34   forth in this act are rooted in history and tradition. They are
        35   analogous to historical laws that can be found from the Founding
        36   era to Reconstruction, which are also found in modern laws in many
        37   states. History and tradition support at least the following location-
        38   based restrictions on carrying firearms:
        39       (1) Places that are the site of core constitutional activity, such as
        40   but not limited to the exercise of First Amendment rights, or that
        41   are otherwise vital to the functioning of democracy and our system
        42   of government. That includes prohibitions of firearms in facilities
        43   within the criminal justice system;
        44       (2) Schools, universities, other educational institutions, where
        45   people assemble for educational purposes and for the purposes of
        46   teaching, learning, research, and the pursuit of knowledge;
        47       (3) Parks and other recreation spaces, including locations where
        48   children congregate;
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         1      (4) Locations that protect vulnerable classes of people, such as
         2   the young and the frail;
         3      (5) Places where intoxicating substances are sold, places where
         4   large groups of individuals congregate, and places where volatile
         5   conditions may pose a threat to public safety; and
         6      (6) Various forms of transportation and public infrastructure,
         7   whose safety, security, and stability are critical to supporting social
         8   function.
         9      h. The historical record also supports restriction of firearm
        10   possession on private property when the owner has not given their
        11   consent. Many states require a property owner’s permission before
        12   another may enter private dwellings and private lands with a
        13   firearm or other weapons. Requiring consent from the property
        14   owner before carrying weapons onto private property is also in line
        15   with both the reasonable expectations and property rights of New
        16   Jersey property owners.
        17      i. Additionally, the fees to obtain a firearms purchaser
        18   identification permit or a permit to purchase a handgun in New
        19   Jersey were initially set by statute over 50 years ago at $5 and $2,
        20   respectively, and in over a half century the law has never been
        21   changed to increase these fees, notwithstanding the impact of
        22   inflation, increasing costs of background checks and related
        23   investigations, and the investment made over the years to
        24   technologically upgrade the firearms application and registration
        25   system established and maintained by the New Jersey State Police.
        26      j. Accordingly, the Legislature finds it is necessary and proper
        27   to revise this State’s procedural and substantive laws related to
        28   firearms to update the process and the standards applicable to
        29   firearm purchase and possession as well as our handgun carry law,
        30   and to continue to promote public safety and reduce gun violence in
        31   a manner consistent with the Second Amendment principles
        32   articulated by the current Supreme Court jurisprudence. These
        33   revisions will focus on factors other than the need or purpose a
        34   person may assert as justification to carry a handgun, such as the
        35   person’s background and qualifications, with the ultimate goal of
        36   keeping New Jersey streets and neighborhoods safe from gun
        37   violence.
        38
        39      2. N.J.S.2C:58-3 is amended to read as follows:
        40      2C:58-3. a. Permit to purchase a handgun.
        41      (1) No person shall sell, give, transfer, assign or otherwise
        42   dispose of, nor receive, purchase, or otherwise acquire a handgun
        43   unless the purchaser, assignee, donee, receiver or holder is licensed
        44   as a dealer under this chapter or has first secured a permit to
        45   purchase a handgun as provided by this section.
        46      (2) A person who is not a licensed retail dealer and sells, gives,
        47   transfers, assigns, or otherwise disposes of, or receives, purchases
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         1   or otherwise acquires a handgun pursuant to this section shall
         2   conduct the transaction through a licensed retail dealer.
         3       The provisions of this paragraph shall not apply if the transaction
         4   is:
         5       (a) between members of an immediate family as defined in
         6   subsection n. of this section;
         7       (b) between law enforcement officers;
         8       (c) between collectors of firearms or ammunition as curios or
         9   relics as defined in Title 18, U.S.C. section 921 (a) (13) who have
        10   in their possession a valid Collector of Curios and Relics License
        11   issued by the Bureau of Alcohol, Tobacco, Firearms, and
        12   Explosives; or
        13       (d) a temporary transfer pursuant to section 1 of P.L.1992, c.74
        14   (C.2C:58-3.1) or section 1 of P.L.1997, c.375 (C.2C:58-3.2).
        15       (3) Prior to a transaction conducted pursuant to this subsection,
        16   the retail dealer shall complete a National Instant Criminal
        17   Background Check of the person acquiring the handgun. In
        18   addition:
        19       (a) the retail dealer shall submit to the Superintendent of State
        20   Police, on a form approved by the superintendent, information
        21   identifying and confirming the background check;
        22       (b) every retail dealer shall maintain a record of transactions
        23   conducted pursuant to this subsection, which shall be maintained at
        24   the address displayed on the retail dealer's license for inspection by
        25   a law enforcement officer during reasonable hours;
        26       (c) a retail dealer may charge a fee for a transaction conducted
        27   pursuant to this subsection; and
        28       (d) any record produced pursuant to this subsection shall not be
        29   considered a public record pursuant to P.L.1963, c.73 (C.47:1A-1 et
        30   seq.) or P.L.2001, c.404 (C.47:1A-5 et al.).
        31       b. Firearms purchaser identification card.
        32       (1) [No] A person shall not sell, give, transfer, assign or
        33   otherwise dispose of nor receive, purchase or otherwise acquire an
        34   antique cannon or a rifle or shotgun, other than an antique rifle or
        35   shotgun, unless the purchaser, assignee, donee, receiver or holder is
        36   licensed as a dealer under this chapter or possesses a valid firearms
        37   purchaser identification card, and first exhibits the card to the seller,
        38   donor, transferor or assignor, and unless the purchaser, assignee,
        39   donee, receiver or holder signs a written certification, on a form
        40   prescribed by the superintendent, which shall indicate that [he] the
        41   person presently complies with the requirements of subsection c. of
        42   this section and shall contain [his] the person’s name, address and
        43   firearms purchaser identification card number or dealer's
        44   registration number. The certification shall be retained by the
        45   seller, as provided in paragraph (4) of subsection a. of N.J.S.2C:58-
        46   2, or, in the case of a person who is not a dealer, it may be filed
        47   with the chief of police of the municipality in which [he] the
        48   person resides or with the superintendent.
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         1       (2) A person who is not a licensed retail dealer and sells, gives,
         2   transfers, assigns, or otherwise disposes of, or receives, purchases
         3   or otherwise acquires an antique cannon or a rifle or shotgun
         4   pursuant to this section shall conduct the transaction through a
         5   licensed retail dealer.
         6       The provisions of this paragraph shall not apply if the transaction
         7   is:
         8       (a) between members of an immediate family as defined in
         9   subsection n. of this section;
        10       (b) between law enforcement officers;
        11       (c) between collectors of firearms or ammunition as curios or
        12   relics as defined in Title 18, U.S.C. section 921 (a) (13) who have
        13   in their possession a valid Collector of Curios and Relics License
        14   issued by the Bureau of Alcohol, Tobacco, Firearms, and
        15   Explosives; or
        16       (d) a temporary transfer pursuant to section 1 of P.L.1992, c.74
        17   (C.2C:58-3.1) and section 1 of P.L.1997, c.375 (C.2C:58-3.2).
        18       (3) Prior to a transaction conducted pursuant to this subsection,
        19   the retail dealer shall complete a National Instant Criminal
        20   Background Check of the person acquiring an antique cannon or a
        21   rifle or shotgun. In addition:
        22       (a) the retail dealer shall submit to the Superintendent of State
        23   Police, on a form approved by the superintendent, information
        24   identifying and confirming the background check;
        25       (b) every retail dealer shall maintain a record of transactions
        26   conducted pursuant to this section which shall be maintained at the
        27   address set forth on the retail dealer's license for inspection by a law
        28   enforcement officer during reasonable hours;
        29       (c) a retail dealer may charge a fee, not to exceed $25, for a
        30   transaction conducted pursuant to this subsection; and
        31       (d) any record produced pursuant to this subsection shall not be
        32   considered a public record pursuant to P.L.1963, c.73 (C.47:1A-1 et
        33   seq.) or P.L.2001, c.404 (C.47:1A-5 et al.).
        34       c. Who may obtain.         [No] Except as hereinafter provided, a
        35   person [of good character and good repute] shall not be denied a
        36   permit to purchase a handgun or a firearms purchaser identification
        37   card, unless the person is known in the community in which [he]
        38   the person lives as someone who has engaged in acts or made
        39   statements suggesting the person is likely to engage in conduct,
        40   other than justified self-defense, that would pose a danger to self or
        41   others, [and who] or is [not] subject to any of the disabilities set
        42   forth in this section or other sections of this chapter [, shall be
        43   denied a permit to purchase a handgun or a firearms purchaser
        44   identification card, except as hereinafter set forth]. [No] A
        45   handgun purchase permit or firearms purchaser identification card
        46   shall not be issued:
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         1      (1) To any person who has been convicted of any crime, or a
         2   disorderly persons offense involving an act of domestic violence as
         3   defined in section 3 of P.L.1991, c.261 (C.2C:25-19), whether or
         4   not armed with or possessing a weapon at the time of the offense;
         5      (2) To any drug-dependent person as defined in section 2 of
         6   P.L.1970, c.226 (C.24:21-2), to any person who is presently
         7   confined for a mental disorder [to a hospital, mental institution or
         8   sanitarium] as a voluntary admission as defined in section 2 of
         9   P.L.1987, c.116 (C.30:4-27.2) or involuntarily committed to
        10   inpatient or outpatient treatment pursuant to section 1 of P.L.1987,
        11   c.116 (C.30:4-27.1), or to any person who is presently [an habitual
        12   drunkard] an alcoholic, as defined by section 2 of P.L.1975, c.305
        13   (C.26:2B-8);
        14      (3) To any person who suffers from a physical defect or disease
        15   which would make it unsafe for [him] that person to handle
        16   firearms, [to any person who has ever been confined for a mental
        17   disorder,] or to any alcoholic as defined by section 2 of P.L.1975,
        18   c.305 (C.26:2B-8) unless any of the foregoing persons produces a
        19   certificate of a medical doctor or psychiatrist licensed in New
        20   Jersey, or other satisfactory proof, that [he] the person is no longer
        21   suffering from that particular disability in a manner that would
        22   interfere with or handicap [him] that person in the handling of
        23   firearms; to any person who knowingly falsifies any information on
        24   the application form for a handgun purchase permit or firearms
        25   purchaser identification card;
        26      (4) To any person under the age of 18 years for a firearms
        27   purchaser identification card and to any person under the age of 21
        28   years for a permit to purchase a handgun;
        29      (5) To any person where the issuance would not be in the interest
        30   of the public health, safety or welfare because the person is found to
        31   be lacking the essential character or temperament necessary to be
        32   entrusted with a firearm;
        33      (6) To any person who is subject to or has violated a temporary
        34   or final restraining order issued pursuant to the "Prevention of
        35   Domestic Violence Act of 1991", P.L.1991, c.261 (C.2C:25-17 et
        36   seq.) prohibiting the person from possessing any firearm or a
        37   temporary or final domestic violence restraining order issued in
        38   another jurisdiction prohibiting the person from possessing any
        39   firearm;
        40      (7) To any person who as a juvenile was adjudicated delinquent
        41   for an offense which, if committed by an adult, would constitute a
        42   crime and the offense involved the unlawful use or possession of a
        43   weapon, explosive or destructive device or is enumerated in
        44   subsection d. of section 2 of P.L.1997, c.117 (C.2C:43-7.2);
        45      (8) To any person whose firearm is seized pursuant to the
        46   "Prevention of Domestic Violence Act of 1991", P.L.1991, c.261
        47   (C.2C:25-17 et seq.) and whose firearm has not been returned; or
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         1      (9) To any person named on the consolidated Terrorist Watchlist
         2   maintained by the Terrorist Screening Center administered by the
         3   Federal Bureau of Investigation;
         4      (10) To any person who is subject to or has violated a court order
         5   prohibiting the custody, control, ownership, purchase, possession,
         6   or receipt of a firearm or ammunition issued pursuant to the
         7   "Extreme Risk Protective Order Act of 2018", P.L.2018, c.35
         8   (C.2C:58-20 et al.);
         9      (11) To any person who is subject to or has violated a court order
        10   prohibiting the custody, control, ownership, purchase, possession,
        11   or receipt of a firearm or ammunition issued pursuant to P.L.2021,
        12   c.327 (C.2C:12-14 et al.);
        13      (12) To any person who is subject to or has violated a temporary
        14   or final restraining order issued pursuant to the “Sexual Assault
        15   Survivor Protection Act of 2015,” P.L.2015, c.147 (C.2C:14-13 et
        16   al.);
        17      (13) To any person who has previously been voluntarily admitted
        18   or involuntarily committed to inpatient or outpatient treatment
        19   pursuant to section 1 of P.L.1987, c.116 (C.30:4-27.1), unless the
        20   court has expunged the person’s record pursuant to P.L.1953, c.268
        21   (C.30:4-80.8 et seq.);
        22      (14) To any person who is subject to an outstanding arrest
        23   warrant for an indictable crime in this State or for a felony, other
        24   than a felony to which section 1 of P.L.2022, c.50 (C.2A:160-14.1)
        25   would apply, in any other state or federal jurisdiction;
        26      (15) To any person who is a fugitive from justice due to having
        27   fled from any state or federal jurisdiction to avoid prosecution for a
        28   crime, other than a crime to which section 1 of P.L.2022, c.50
        29   (C.2A:160-14.1) would apply, or to avoid giving testimony in any
        30   criminal proceeding; or
        31      (16) To any person who has been convicted of more than one
        32   crime of the fourth degree in violation of sections 4, 5, or 6 of
        33   P.L. , c. (C. )(pending before the Legislature as this bill).
        34      In order to obtain a permit to purchase a handgun or a firearms
        35   purchaser identification card, the applicant shall demonstrate that,
        36   within four years prior to the date of the application, the applicant
        37   satisfactorily completed a course of instruction approved by the
        38   superintendent in the lawful and safe handling and storage of
        39   firearms.     The applicant shall be required to demonstrate
        40   completion of a course of instruction only once prior to obtaining
        41   either a firearms purchaser identification card or the applicant's first
        42   permit to purchase a handgun.
        43      The applicant shall not be required to demonstrate completion of
        44   a course of instruction in order to obtain any subsequent permit to
        45   purchase a handgun, to replace an existing firearms purchaser
        46   identification card, or to renew a firearms purchaser identification
        47   card.
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          1      An applicant who is a law enforcement officer who has satisfied
          2   the requirements of subsection j. of N.J.S.2C:39-6, a retired law
          3   enforcement officer who has satisfied the requirements of
          4   subsection l. of N.J.S.2C:39-6, or a veteran who was honorably
          5   discharged as a member of the United States Armed Forces or
          6   National Guard who received substantially equivalent training shall
          7   not be required to complete the course of instruction required
          8   pursuant to the provisions of this subsection.
          9      A person who obtained a permit to purchase a handgun or a
         10   firearms purchaser identification card prior to the effective date of
         11   P.L.2022, c.58 shall not be required to complete a course of
         12   instruction pursuant to this subsection.
         13      d. Issuance. The chief of police of an organized full-time
         14   police department of the municipality where the applicant resides or
         15   the superintendent, in all other cases, shall upon application, issue
         16   to any person qualified under the provisions of subsection c. of this
         17   section a permit to purchase a handgun or a firearms purchaser
         18   identification card.
         19      A firearms purchaser identification card issued following the
         20   effective date of P.L.2022, c.58 shall display a color photograph
         21   and [a thumb print] be electronically linked to the fingerprints of
         22   the card holder. A person who obtained a firearms purchaser
         23   identification card prior to the effective date of P.L.2022, c.58 shall
         24   not be required to obtain a firearm purchaser identification card that
         25   displays a color photograph and [a thumb print] is electronically
         26   linked to the fingerprints. The superintendent shall establish
         27   guidelines as necessary to effectuate the issuance of firearms
         28   purchaser identification cards that display a color photograph and
         29   [a thumb print] which is electronically linked to the fingerprints of
         30   the card holder.
         31      The requirements of this subsection concerning firearms
         32   purchaser identification cards issued following the effective date of
         33   P.L.2022, c.58 shall remain inoperative until such time as the
         34   superintendent establishes a system to produce cards that comply
         35   with this requirement and, until such time, applicants issued a
         36   firearms purchaser identification card shall be provided with cards
         37   that do not conform to the requirements of this section, which shall
         38   be afforded force and effect until such time as the system is
         39   established and a compliant card is issued in accordance with this
         40   subsection. An applicant issued a non-compliant firearms purchaser
         41   identification card shall obtain a card, at no cost to the applicant,
         42   which conforms to the requirements of this section no later than one
         43   year after receiving notice that the system to produce cards that
         44   comply with this requirement is operational.
         45      If an application for a permit or identification card is denied, the
         46   applicant shall be provided with a written statement of the reasons
         47   for the denial. Any person aggrieved by the denial of a permit or
         48   identification card may request a hearing in the Superior Court of
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          1   the county in which [he] the person resides if [he] the person is a
          2   resident of New Jersey or in the Superior Court of the county in
          3   which [his] the person’s application was filed if [he] the person is
          4   a nonresident. The request for a hearing shall be made in writing
          5   within 30 days of the denial of the application for a permit or
          6   identification card. The applicant shall serve a copy of [his] the
          7   request for a hearing upon the chief of police of the municipality in
          8   which he resides, if [he] the person is a resident of New Jersey, and
          9   upon the superintendent in all cases. The hearing shall be held and
         10   a record made thereof within [30] 60 days of the receipt of the
         11   application for a hearing by the judge of the Superior Court. No
         12   formal pleading and no filing fee shall be required as a preliminary
         13   to a hearing. Appeals from the results of a hearing shall be in
         14   accordance with law.
         15      The Administrative Director of the Courts shall coordinate with
         16   the superintendent in the development of an electronic filing system
         17   to receive requests for hearings and serve the chief of police and
         18   superintendent as required in this section.
         19      e. Applications.       Applications for permits to purchase a
         20   handgun and for firearms purchaser identification cards shall be in
         21   the form prescribed by the superintendent and shall set forth the
         22   name, residence, place of business, age, date of birth, occupation,
         23   [sex] any aliases or other names previously used by the applicant,
         24   gender, and physical description, including distinguishing physical
         25   characteristics, if any, of the applicant, and shall state whether the
         26   applicant is a citizen, whether [he] the applicant is an alcoholic [,
         27   habitual drunkard,] as defined in section 2 of P.L.1975, c. 305 (C.
         28   26:2B-8) or is a drug-dependent person as defined in section 2 of
         29   P.L.1970, c.226 (C.24:21-2), whether [he] the applicant has ever
         30   been confined or committed to a mental institution or hospital for
         31   treatment or observation of a mental or psychiatric condition on a
         32   temporary, interim or permanent basis, giving the name and
         33   location of the institution or hospital and the dates of confinement
         34   or commitment, whether [he] the applicant has been attended,
         35   treated or observed by any doctor or psychiatrist or at any hospital
         36   or mental institution on an inpatient or outpatient basis for any
         37   mental or psychiatric condition, giving the name and location of the
         38   doctor, psychiatrist, hospital or institution and the dates of the
         39   occurrence, whether [he] the applicant presently or ever has been a
         40   member of any organization which advocates or approves the
         41   commission of acts of force and violence to overthrow the
         42   Government of the United States or of this State, or which seeks to
         43   deny others their rights under the Constitution of either the United
         44   States or the State of New Jersey, whether [he] the applicant has
         45   ever been convicted of a crime or disorderly persons offense,
         46   whether the [person] applicant is subject to a restraining order
         47   issued pursuant to the "Prevention of Domestic Violence Act of
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          1   1991", P.L.1991, c.261 (C.2C:25-17 et seq.) prohibiting the
          2   [person] applicant from possessing any firearm, whether the
          3   [person] applicant is subject to a protective order issued pursuant
          4   to the "Extreme Risk Protective Order Act of 2018", P.L.2018, c.35
          5   (C.2C:58-20 et al.), whether the [person] applicant is subject to a
          6   protective order issued pursuant to P.L.2021, c.327 (C.2C:12-14 et
          7   al.) prohibiting the [person] applicant from possessing any firearm,
          8   and other information as the superintendent shall deem necessary
          9   for the proper enforcement of this chapter. For the purpose of
         10   complying with this subsection, the applicant shall waive any
         11   statutory or other right of confidentiality relating to institutional
         12   confinement. The application shall be signed by the applicant and
         13   shall contain as references the names and addresses of two
         14   reputable citizens personally acquainted with [him] the applicant.
         15       An application for a permit to purchase a handgun shall also
         16   indicate, with respect to each handgun listed on the form, whether
         17   the applicant is purchasing the handgun on the applicant’s own
         18   behalf or on behalf of a third party and shall specify that the
         19   applicant is not an actual purchaser if the applicant is acquiring the
         20   handgun on behalf of another person, unless otherwise permitted by
         21   law.
         22       Application blanks shall be obtainable from the superintendent,
         23   from any other officer authorized to grant a permit or identification
         24   card, and from licensed retail dealers, or shall be made available
         25   through an online process established or made available by the
         26   superintendent.
         27       The chief police officer or the superintendent shall obtain the
         28   fingerprints of the applicant and shall have them compared with any
         29   and all records of fingerprints in the municipality and county in
         30   which the applicant resides and also the records of the State Bureau
         31   of Identification and the Federal Bureau of Investigation, provided
         32   that an applicant for a handgun purchase permit who possesses a
         33   valid firearms purchaser identification card, or who has previously
         34   obtained a handgun purchase permit from the same licensing
         35   authority for which [he] the applicant was previously fingerprinted,
         36   and who provides other reasonably satisfactory proof of [his] the
         37   applicant’s identity, need not be fingerprinted again; however, the
         38   chief police officer or the superintendent shall proceed to
         39   investigate the application to determine whether or not the applicant
         40   has become subject to any of the disabilities set forth in this
         41   chapter.
         42      f. Granting of permit or identification card; fee; term; renewal;
         43   revocation. The application for the permit to purchase a handgun
         44   together with a fee of [$2] $25, or the application for the firearms
         45   purchaser identification card together with a fee of [$5] $50, shall
         46   be delivered or forwarded to the licensing authority who, upon
         47   determining that the application is complete, shall investigate the
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          1   same and, unless good cause for the denial thereof appears, shall
          2   grant the permit or the identification card, or both, if application has
          3   been made therefor, within 30 days from the date of receipt of the
          4   completed application for residents of this State and within 45 days
          5   for nonresident applicants. A permit to purchase a handgun shall be
          6   valid for a period of 90 days from the date of issuance and may be
          7   renewed by the issuing authority for good cause for an additional 90
          8   days. A firearms purchaser identification card issued or renewed
          9   after the effective date of P.L.2022, c.58 shall expire during the
         10   tenth calendar year following its date of issuance and on the same
         11   calendar day as the person's date of birth.
         12      If the date of birth of the firearms purchaser identification card
         13   holder does not correspond to a calendar day of the tenth calendar
         14   year, the card shall expire on the last day of the birth month of the
         15   card holder.
         16      A firearms purchaser identification card issued pursuant to this
         17   section may be renewed upon filing of a renewal application and
         18   payment of the required fee, provided that the holder is not subject
         19   to any of the disabilities set forth in subsection c. of this section and
         20   complies with all other applicable requirements as set forth in
         21   statute and regulation. If an application for renewal of a firearm
         22   purchaser identification card is denied, the applicant shall be
         23   provided with a written statement of the reasons for the denial. Any
         24   person aggrieved by the denial of an application for renewal of a
         25   firearm purchaser identification card may request a hearing in the
         26   Superior Court of the county in which the person resides if the
         27   person is a resident of New Jersey or in the Superior Court of the
         28   county in which the person’s application was filed if the person is a
         29   nonresident. The request for a hearing shall be made in writing
         30   within 30 days of the denial of the application for renewal of the
         31   firearm purchaser identification card. The applicant shall serve a
         32   copy of the request for a hearing upon the chief of police of the
         33   municipality in which the applicant resides, if the person is a
         34   resident of New Jersey, and upon the superintendent in all cases.
         35   The hearing shall be held and a record made thereof within 60 days
         36   of the receipt of the application for a hearing by the judge of the
         37   Superior Court. A formal pleading and filing fee shall not be
         38   required as a preliminary to a hearing. Appeals from the results of a
         39   hearing shall be in accordance with law.
         40      The Administrative Director of the Courts shall coordinate with
         41   the superintendent in the development of an electronic filing system
         42   to receive requests for hearings and serve the chief of police and
         43   superintendent as required in this section.
         44      A firearms purchaser identification card issued prior to the
         45   effective date of P.L.2022, c.58 shall not expire.
         46      A firearms purchaser identification card shall be void if the
         47   holder becomes subject to any of the disabilities set forth in
         48   subsection c. of this section, whereupon the card shall be returned
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          1   within five days by the holder to the superintendent, who shall then
          2   advise the licensing authority. Failure of the holder to return the
          3   firearms purchaser identification card to the superintendent within
          4   the five days shall be an offense under subsection a. of N.J.S.2C:39-
          5   10. Any firearms purchaser identification card may be revoked by
          6   the Superior Court of the county wherein the card was issued, after
          7   hearing upon notice, upon a finding that the holder thereof no
          8   longer qualifies for the issuance of the permit. The county
          9   prosecutor of any county, the chief police officer of any
         10   municipality or any citizen may apply to the court at any time for
         11   the revocation of the card.
         12      There shall be no conditions or requirements added to the form
         13   or content of the application, or required by the licensing authority
         14   for the issuance or renewal of a permit or identification card, other
         15   than those that are specifically set forth in this chapter.
         16      g. Disposition of fees. All fees for permits shall be paid to the
         17   State Treasury for deposit into the Victims of Crime Compensation
         18   Office account if the permit is issued by the superintendent, to the
         19   municipality if issued by the chief of police, and to the county
         20   treasurer if issued by the judge of the Superior Court.
         21      h. Form of permit; [quadruplicate] establishment of a web
         22   portal; disposition of [copies] the completed information. (1)
         23   Except as otherwise provided in paragraph (2) of this subsection,
         24   the permit shall be in the form prescribed by the superintendent and
         25   shall be issued to the applicant [in quadruplicate] electronically
         26   through e-mail or the web portal established or designated for this
         27   purpose by the superintendent or in such form or manner as may be
         28   authorized by the superintendent. Prior to the time [he] the
         29   applicant receives the handgun from the seller, the applicant shall
         30   [deliver] provide to the seller an acknowledgement of the permit in
         31   [quadruplicate] the form required under the process established by
         32   the superintendent, and the seller shall complete all of the
         33   information required on the [form] web portal. [Within five days
         34   of the date of the sale, the seller shall forward the original copy]
         35   This information shall be forwarded to the superintendent through
         36   the web portal, or in such other manner as may be authorized by the
         37   superintendent, and [the second copy] to the chief of police of the
         38   municipality in which the purchaser resides, except that in a
         39   municipality having no chief of police, [the copy] the information
         40   shall be forwarded to the superintendent. The [third copy shall then
         41   be returned to the] purchaser [with the pistol or revolver] shall
         42   retain a copy of the completed information and the [fourth copy
         43   shall be kept by the] seller shall retain a copy of the completed
         44   information as a permanent record.
         45      A transfer of a handgun between or among immediate family
         46   members, law enforcement officers, or collectors of firearms or
         47   ammunition as curios or relics shall be conducted via the web portal
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          1   established or designated by the superintendent, which shall include
          2   among other things a certification that the seller and purchaser are
          3   in fact immediate family members, law enforcement officers, or
          4   collectors of firearms or ammunition as curios or relics.
          5      (2) The requirements of this subsection concerning the delivery
          6   and form of permit and disposition of copies shall not be applicable
          7   when these functions may be completed by utilizing an electronic
          8   system as described in paragraph (2) of subsection b. of
          9   N.J.S.2C:58-2 or section 5 of P.L.2022, c.55 (C.2C:58-3.3a).
         10      i. Restriction on number of firearms person may purchase.
         11   Only one handgun shall be purchased or delivered on each permit
         12   and no more than one handgun shall be purchased within any 30-
         13   day period, but this limitation shall not apply to:
         14      (1) a federal, State, or local law enforcement officer or agency
         15   purchasing handguns for use by officers in the actual performance
         16   of their law enforcement duties;
         17      (2) a collector of handguns as curios or relics as defined in Title
         18   18, United States Code, section 921 (a) (13) who has in [his] the
         19   collector’s possession a valid Collector of Curios and Relics
         20   License issued by the federal Bureau of Alcohol, Tobacco, Firearms
         21   and Explosives;
         22      (3) transfers of handguns among licensed retail dealers,
         23   registered wholesale dealers and registered manufacturers;
         24      (4) transfers of handguns from any person to a licensed retail
         25   dealer or a registered wholesale dealer or registered manufacturer;
         26      (5) any transaction where the person has purchased a handgun
         27   from a licensed retail dealer and has returned that handgun to the
         28   dealer in exchange for another handgun within 30 days of the
         29   original transaction, provided the retail dealer reports the exchange
         30   transaction to the superintendent; or
         31      (6) any transaction where the superintendent issues an exemption
         32   from the prohibition in this subsection pursuant to the provisions of
         33   section 4 of P.L.2009, c.186 (C.2C:58-3.4).
         34      The provisions of this subsection shall not be construed to afford
         35   or authorize any other exemption from the regulatory provisions
         36   governing firearms set forth in chapter 39 and chapter 58 of Title
         37   2C of the New Jersey Statutes;
         38      A person shall not be restricted as to the number of rifles or
         39   shotguns [he] the person may purchase, provided [he] the person
         40   possesses a valid firearms purchaser identification card and
         41   provided further that [he] the person signs the certification required
         42   in subsection b. of this section for each transaction.
         43      j. Firearms passing to heirs or legatees. Notwithstanding any
         44   other provision of this section concerning the transfer, receipt or
         45   acquisition of a firearm, a permit to purchase or a firearms
         46   purchaser identification card shall not be required for the passing of
         47   a firearm upon the death of an owner thereof to [his] the owner’s
         48   heir or legatee, whether the same be by testamentary bequest or by
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          1   the laws of intestacy. The person who shall so receive, or acquire
          2   the firearm shall, however, be subject to all other provisions of this
          3   chapter. If the heir or legatee of the firearm does not qualify to
          4   possess or carry it, [he] the heir or legatee may retain ownership of
          5   the firearm for the purpose of sale for a period not exceeding 180
          6   days, or for a further limited period as may be approved by the chief
          7   law enforcement officer of the municipality in which the heir or
          8   legatee resides or the superintendent, provided that the firearm is in
          9   the custody of the chief law enforcement officer of the municipality
         10   or the superintendent during that period.
         11      k. Sawed-off shotguns. Nothing in this section shall be
         12   construed to authorize the purchase or possession of any sawed-off
         13   shotgun.
         14      l. Nothing in this section and in N.J.S.2C:58-2 shall apply to
         15   the sale or purchase of a visual distress signalling device approved
         16   by the United States Coast Guard, solely for possession on a private
         17   or commercial aircraft or any boat; provided, however, that no
         18   person under the age of 18 years shall purchase nor shall any person
         19   sell to a person under the age of 18 years a visual distress signalling
         20   device.
         21      m. The provisions of subsections a. and b. of this section and
         22   paragraphs (4) and (5) of subsection a. of N.J.S.2C:58-2 shall not
         23   apply to the purchase of firearms by a law enforcement agency for
         24   use by law enforcement officers in the actual performance of the
         25   current or former judge's duties, which purchase may be made
         26   directly from a manufacturer or from a licensed dealer located in
         27   this State or any other state.
         28      n. For the purposes of this section, "immediate family" means a
         29   spouse, domestic partner as defined in section 3 of P.L.2003, c.246
         30   (C.26:8A-3), partner in a civil union couple as defined in section 2
         31   of P.L.2006, c.103 (C.37:1-29), parent, stepparent, grandparent,
         32   sibling, stepsibling, child, stepchild, and grandchild, as related by
         33   blood or by law.
         34      o. Registration of handguns owned by new residents. Any
         35   person who becomes a resident of this State following the effective
         36   date of P.L.2022, c.52 and who transports into this State a firearm
         37   that the person owned or acquired while residing in another state
         38   shall apply for a firearm purchaser identification card within 60
         39   days of becoming a New Jersey resident, and shall register any
         40   handgun so transported into this State within 60 days as provided in
         41   this subsection.
         42      A person who registers a handgun pursuant to this subsection
         43   shall complete a registration statement, which shall be in a form
         44   prescribed by the superintendent. The information provided in the
         45   registration statement shall include, but shall not be limited to, the
         46   name and address of the person and the make, model, and serial
         47   number of the handgun being registered.             Each registration
         48   statement shall be signed by the person, and the signature shall
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          1   constitute a representation of the accuracy of the information
          2   contained in the registration statement.
          3      The registration statement shall be submitted to the law
          4   enforcement agency of the municipality in which the person resides
          5   or, if the municipality does not have a municipal law enforcement
          6   agency, any State Police station.
          7      Within 60 days prior to the effective date of P.L.2022, c.52, the
          8   superintendent shall prepare the form of registration statement as
          9   described in this subsection and shall provide a suitable supply of
         10   statements to each organized full-time municipal police department
         11   and each State Police station.
         12      A person who fails to apply for a firearm purchaser identification
         13   card or register a handgun as required pursuant to this subsection
         14   shall be granted 30 days to comply with the provisions of this
         15   subsection. If the person does not comply within 30 days, the
         16   person shall be liable to a civil penalty of $250 for a first offense
         17   and shall be guilty of a disorderly persons offense for a second or
         18   subsequent offense.
         19      If a person is in possession of multiple firearms or handguns in
         20   violation of this subsection, the person shall be guilty of one
         21   offense under this subsection provided the violation is a single
         22   event.
         23      The civil penalty shall be collected pursuant to the "Penalty
         24   Enforcement Law of 1999," P.L.1999, c.274 (C.2A:58-10 et seq.) in
         25   a summary proceeding before the municipal court having
         26   jurisdiction.   A law enforcement officer having enforcement
         27   authority in that municipality may issue a summons for a violation,
         28   and may serve and execute all process with respect to the
         29   enforcement of this subsection consistent with the Rules of Court.
         30   (cf: P.L.2022, c.58, s.1)
         31
         32      3. N.J.S.2C:58-4 is amended to read as follows:
         33      2C:58-4. a. Scope and duration of authority. Any person who
         34   holds a valid permit to carry a handgun issued pursuant to this
         35   section shall be authorized to carry a handgun in a holster concealed
         36   on their person in all parts of this State, except as prohibited by
         37   subsection e. of N.J.S.2C:39-5 and section 7 of P.L. , c. (C. )
         38   (pending before Legislature as this bill). One permit shall be
         39   sufficient for all handguns owned by the holder thereof, but the
         40   permit shall apply only to a handgun carried by the actual and legal
         41   holder of the permit and, except as otherwise provided in subsection
         42   b. of section 6 of P.L. , c. (C.                 )(pending before the
         43   Legislature as this bill), shall not be construed to authorize a holder
         44   to carry a handgun openly, provided that a brief, incidental
         45   exposure of a handgun while transferring it to or from a holster or
         46   due to the shifting of the person’s body position or clothing shall be
         47   deemed a de minimis infraction within the contemplation of
         48   N.J.S.2C:2-11.
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          1      All permits to carry handguns shall expire two years from the
          2   date of issuance or, in the case of an employee of an armored car
          3   company, upon termination of [his] the employee’s employment by
          4   the company occurring prior thereto whichever is earlier in time,
          5   and they may thereafter be renewed every two years in the same
          6   manner and subject to the same conditions as in the case of original
          7   applications.
          8      b. Application forms. All applications for permits to carry
          9   handguns, and all applications for renewal of permits, shall be made
         10   on the forms and in the manner prescribed by the superintendent.
         11   Each application shall set forth the full name, date of birth, [sex]
         12   gender, residence, occupation, place of business or employment,
         13   any aliases or other names previously used by the applicant, and
         14   physical description of the applicant, and any other information the
         15   superintendent may prescribe for the determination of the
         16   applicant's eligibility for a permit and for the proper enforcement of
         17   this chapter. The application shall be signed by the applicant under
         18   oath, and shall be [indorsed] endorsed by [three] not less than four
         19   reputable persons who are not related by blood or by law to the
         20   applicant and have known the applicant for at least three years
         21   preceding the date of application, and who shall certify thereon that
         22   the applicant [is a person of good moral character and behavior]
         23   has not engaged in any acts or made any statements that suggest the
         24   applicant is likely to engage in conduct, other than lawful self-
         25   defense, that would pose a danger to the applicant or others. The
         26   reputable persons also shall provide relevant information supporting
         27   the certification, including the nature and extent of their
         28   relationship with the applicant and information concerning their
         29   knowledge of the applicant’s use of drugs or alcohol.
         30      c. Investigation and approval. Each application shall be
         31   accompanied by a $200 application fee and shall in the first
         32   instance be submitted to the chief police officer of the municipality
         33   in which the applicant resides, or to the superintendent [,] if: (1)
         34   [if] the applicant is an employee of an armored car company [, or]
         35   ; (2) [if] there is no chief police officer in the municipality where
         36   the applicant resides [, or] ; (3) [if] the applicant does not reside in
         37   this State; or (4) the applicant is a mayor or other elected member
         38   of the municipal governing body.
         39      In the case of an application made to the chief police officer of a
         40   municipality, $150 of the fee shall be retained by the municipality
         41   and the remaining $50 shall be forwarded to the superintendent.
         42   The fee amount retained by the municipality shall be used to defray
         43   the costs of investigation, administration, and processing of the
         44   permit to carry handgun applications. Application fees made to the
         45   superintendent shall be deposited into the Victims of Crime
         46   Compensation Office account.
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          1      The chief police officer, or the superintendent, as the case may
          2   be, shall determine whether the application is complete and, if so,
          3   shall cause the fingerprints of the applicant to be taken and
          4   compared with any and all records maintained by the municipality,
          5   the county in which it is located, the State Bureau of Identification
          6   and the Federal Bureau of Identification. [He] The chief police
          7   officer or the superintendent, as the case may be, shall also determine
          8   and record a complete description of each handgun the applicant
          9   intends to carry. The chief police officer, or the superintendent, as
         10   the case may be, shall interview the applicant and the persons
         11   endorsing the application under subsection b. of this section, and
         12   shall make inquiry concerning, and investigate to the extent
         13   warranted, whether the applicant is likely to engage in conduct that
         14   would result in harm to the applicant or others, including, but not
         15   limited to, whether the applicant has any history of threats or acts of
         16   violence by the applicant directed toward self or others or any
         17   history of use, attempted use, or threatened use of physical force by
         18   the applicant against another person, or other incidents implicating
         19   the disqualifying criteria set forth in subsection c. of N.J.S.2C:58-3,
         20   including but not limited to determining whether the applicant has
         21   been subject to any recent arrests or criminal charges for
         22   disqualifying crimes or has been experiencing any mental health
         23   issues such as suicidal ideation or violent impulses, and the
         24   applicant’s use of drugs or alcohol.
         25      The chief police officer or the superintendent may require such
         26   other information from the applicant or any other person, including
         27   but not limited to publicly available statements posted or published
         28   online by the applicant, as the chief police officer or superintendent
         29   deems reasonably necessary to conduct the review of the
         30   application.
         31      [No] An application shall not be approved by the chief police
         32   officer or the superintendent unless the applicant demonstrates that
         33   [he] the applicant is not subject to any of the disabilities set forth
         34   in subsection c. of N.J.S.2C:58-3, that [he] the applicant is
         35   thoroughly familiar with the safe handling and use of handguns,
         36   including providing proof of completion of any training or
         37   proficiency requirements established under the law, and that [he
         38   has a justifiable need to carry a handgun] the applicant is in
         39   compliance with the firearm carry liability insurance requirement of
         40   section 4 of P.L. , c. (C. )(pending before the Legislature as this
         41   bill).
         42      [Each application form shall be accompanied by a written
         43   certification of justifiable need to carry a handgun, which shall be
         44   under oath and, in the case of a private citizen, shall specify in
         45   detail the urgent necessity for self-protection, as evidenced by
         46   specific threats or previous attacks which demonstrate a special
         47   danger to the applicant's life that cannot be avoided by means other
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          1   than by issuance of a permit to carry a handgun. Where possible,
          2   the applicant shall corroborate the existence of any specific threats
          3   or previous attacks by reference to reports of the incidents to the
          4   appropriate law enforcement agencies.
          5      If] Once the application is [not approved] deemed complete by
          6   the chief police officer or the superintendent , if it is not approved
          7   or denied by the chief police officer or the superintendent within
          8   [60] 90 days of filing, it shall be deemed to have been approved
          9   [unless the applicant agrees]; provided, however, the chief police
         10   officer or the superintendent may, for good cause shown and upon
         11   written notification to the applicant, extend by up to an additional
         12   30 days the time period for which the application may be approved
         13   or denied. The written notification sent to the applicant shall
         14   provide a detailed explanation of the reasons for the extension. An
         15   applicant also may agree in writing to an additional extension of
         16   time [in writing] past the 120 day statutory time frame.
         17      d. Issuance [by Superior Court] of permit; establishment of
         18   web portal; disposition of completed information; fee. If the
         19   application has been approved by the chief police officer or the
         20   superintendent, as the case may be, the [applicant shall forthwith
         21   present it to the Superior Court of the county in which the applicant
         22   resides, or to the Superior Court in any county where he intends to
         23   carry a handgun, in the case of a nonresident or employee of an
         24   armored car company. The court shall] chief police officer or the
         25   superintendent shall issue the permit to the applicant in the form
         26   prescribed by the superintendent.
         27      The permit shall be issued to the applicant electronically through
         28   electronic mail or through the web portal established or designated
         29   for this purpose by the superintendent, or in such form or manner as
         30   may be authorized by the superintendent, if, but only if, [it is
         31   satisfied] the chief police officer or superintendent determines that
         32   the applicant:
         33      (1) is a person [of good character] who has not engaged in any
         34   acts or made any statements that suggest the applicant is likely to
         35   engage in conduct, other than lawful self-defense, that would pose a
         36   danger to the applicant or others and who is not subject to any of
         37   the disabilities set forth in subsection c. of N.J.S.2C:58-3, [that he
         38   is];
         39      (2) is thoroughly familiar with the safe handling and use of
         40   handguns [,] ; and [that he has a justifiable need to carry a
         41   handgun in accordance with the provisions of subsection c. of this
         42   section. The court may at its discretion issue a limited-type permit
         43   which would restrict the applicant as to the types of handguns he
         44   may carry and where and for what purposes the handguns may be
         45   carried]
         46      (3) has completed the training requirements established pursuant
         47   to subsection g. of this section, provided that any requirement for
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          1   classroom instruction and target training shall not be required for a
          2   renewal applicant who completed the instruction and training when
          3   obtaining a permit to carry a handgun issued within the previous
          4   two years; and
          5      (4) is in compliance with the firearm carry liability insurance
          6   requirement of section 4 of P.L. , c. (C. )(pending before the
          7   Legislature as this bill).
          8      At the time of issuance, the applicant shall pay to the county
          9   clerk of the county where the permit was issued a permit fee of
         10   [$20] $50.
         11      e. Appeals from denial of applications. An applicant who is
         12   denied a permit to carry a handgun shall be provided with a written
         13   statement of the reasons for the denial. Any [person] applicant
         14   aggrieved by the denial by the chief police officer or the
         15   superintendent of approval for a permit to carry a handgun may
         16   request a hearing in the Superior Court of the county in which [he]
         17   the applicant resides or in any county in which [he] the applicant
         18   intends to carry a handgun, in the case of a nonresident, by filing a
         19   written request for a hearing within 30 days of the denial. [Copies]
         20   The aggrieved applicant shall serve copies of the request [shall be
         21   served] upon the superintendent, the county prosecutor, and the
         22   chief police officer of the municipality where the applicant resides,
         23   if [he] the applicant is a resident of this State. The hearing shall be
         24   held within [30] 60 days of the filing of the request, and no formal
         25   pleading or filing fee shall be required. Appeals from the
         26   determination at the hearing shall be in accordance with law and the
         27   rules governing the courts of this State.
         28      [If the superintendent or chief police officer approves an
         29   application and the Superior Court denies the application and
         30   refuses to issue a permit, the applicant may appeal the denial in
         31   accordance with law and the rules governing the courts of this
         32   State.]
         33      The Administrative Director of the Courts shall coordinate with
         34   the superintendent in the development of an electronic filing system
         35   to receive requests for hearings and serve the chief of police and
         36   superintendent as required in this section.
         37      f. Revocation of permits. Any permit issued under this section
         38   shall be void at the time the holder thereof becomes subject to any
         39   of the disabilities set forth in subsection c. of N.J.S.2C:58-3, and
         40   the holder of a void permit shall immediately surrender the permit
         41   to the superintendent who shall give notice to the licensing
         42   authority. Any permit may be revoked by the Superior Court, after
         43   hearing upon notice to the holder, if the court finds that the holder
         44   is no longer qualified for the issuance of a permit. The county
         45   prosecutor of any county, the chief police officer of any
         46   municipality, the superintendent, or any citizen may apply to the
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          1   court at any time for the revocation of any permit issued pursuant to
          2   this section.
          3       g. Training requirement. (1) The superintendent shall establish
          4   training requirements in the lawful and safe handling and storage of
          5   firearms, which shall consist of an online course of instruction, in-
          6   person classroom instruction, and target training administered by a
          7   certified firearm instructor on a firing range approved by the
          8   superintendent and on the list of approved ranges published on the
          9   State Police website. The training shall include, but not be limited to,
         10   demonstration of a level of proficiency in the use of a handgun in
         11   such manner as required by the superintendent and training,
         12   developed or approved in conjunction with the Police Training
         13   Commission, on justification in the use of deadly force under State
         14   law.
         15       (2) A person who obtained a permit pursuant to this section prior to
         16   the effective date of P.L.      , c.     (C.     ) (pending before the
         17   Legislature as this bill) shall comply with the training requirement
         18   established pursuant to this subsection within 90 days following the
         19   effective date of P.L.   , c.   (C. ) (pending before the Legislature
         20   as this bill)
         21       h. For purposes of this section, “holster” means a device or
         22   sheath that secures a handgun which, at a minimum, is equipped
         23   with a retention strap, conceals and protects the main body of the
         24   firearm, maintains the firearm in a consistent and accessible
         25   position, and renders the trigger covered and inaccessible while the
         26   handgun is fully seated in the holster.
         27   (cf: P.L.2018, c.37, s.1)
         28
         29      4. (New section) a. Every private citizen who carries a handgun
         30   in public in this State shall maintain liability insurance coverage, under
         31   provisions approved by the Commissioner of Banking and Insurance,
         32   insuring against loss resulting from liability imposed by law for bodily
         33   injury, death, and property damage sustained by any person arising out
         34   of the ownership, maintenance, operation or use of a firearm carried in
         35   public wherein such coverage shall be at least in:
         36      (1) an amount or limit of $100,000, exclusive of interest and costs,
         37   on account of injury to, or death of, one person, in any one incident;
         38      (2) an amount or limit, subject to such limit for any one person so
         39   injured or killed, of $300,000, exclusive of interest and costs, on
         40   account of injury to or death of, more than one person, in any one
         41   incident; and
         42      (3) an amount or limit of $25,000, exclusive of interest and costs,
         43   for damage to property in any one incident.
         44      b. Proof of insurance as required in subsection a. of this section
         45   shall be produced and displayed by the person carrying a handgun in
         46   public upon request to any law enforcement officer or to any person
         47   who has suffered or makes a good faith claim to have suffered either
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          1   injury or property damage arising out of the ownership, maintenance,
          2   operation or use of a firearm carried in public.
          3      c. A violation of this section shall be a crime of the fourth degree
          4   and shall constitute full and sufficient grounds for revocation of a
          5   permit to carry a handgun issued pursuant to N.J.S.2C:58-4.
          6
          7      5. (New section) Safe carry requirements for authorized
          8   holders of a permit to carry a handgun.
          9      a. The holder of a permit to carry a handgun issued pursuant to
         10   N.J.S.2C:58-4 shall not:
         11      (1) use or consume alcohol, a cannabis item, or a controlled
         12   substance while carrying a handgun;
         13      (2) be under the influence of alcohol, cannabis, or a controlled
         14   substance while carrying a handgun;
         15      (3) carry a handgun in public outside of a holster or carry a
         16   handgun in public in a holster that does not meet the requirements
         17   of subsection g. of N.J.S.2C:58-4;
         18       (4) carry more than two firearms under the permittee’s control at
         19   one time; or
         20      (5) engage in an unjustified display of a handgun.
         21      (6) if carrying a handgun in public, refuse to provide the
         22   handgun to a law enforcement officer upon request for purposes of
         23   inspecting the handgun.
         24      A violation of this subsection shall be a crime of the fourth
         25   degree, and any such violation shall constitute full and sufficient
         26   grounds for revocation of a permit to carry a handgun issued
         27   pursuant to N.J.S.2C:58-4.
         28      b. The holder of a permit to carry a handgun issued pursuant to
         29   N.J.S.2C:58-4, if stopped or detained by a law enforcement officer
         30   while carrying a handgun in public, shall:
         31      (1) immediately disclose to the law enforcement officer that they
         32   are carrying a handgun; and
         33      (2) display the permit to carry a handgun and proof of firearm
         34   public carry liability insurance required pursuant to section 4 of
         35   P.L. , c. (C. )(pending before the Legislature as this bill) upon
         36   the request of the officer.
         37      A violation of paragraph (1) of this section shall be a crime of
         38   the fourth degree. A person who violates paragraph (2) of this
         39   subsection shall be guilty of a disorderly persons offense for a first
         40   offense and subject to a $100 fine and a crime of the fourth degree
         41   for a second or subsequent offense.
         42
         43      6. (New section) Requirements and restrictions on the lawful
         44   carrying of a handgun in public.
         45      In addition to any criminal penalties under subsection b. of
         46   N.J.S.2C:39-5, section 7 of P.L. , c. (C. )(pending before the
         47   Legislature as this bill), or any other law, it shall be a crime of the
         48   fourth degree for any person in a public place:
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          1      a. to carry a handgun concealed on or about their person, except
          2   as permitted in accordance with N.J.S.2C:39-6, without possessing on
          3   their person a valid and lawfully issued permit to carry under
          4   N.J.S.2C:58-4 and proof of firearm public carry liability insurance
          5   required pursuant to section 4 of P.L. , c. (C. )(pending before the
          6   Legislature as this bill); or
          7      b. to carry a handgun openly, whether or not in possession of a
          8   valid and lawfully issued permit to carry under N.J.S.2C:58-4 and
          9   proof of handgun public carry liability insurance required pursuant to
         10   section 4 of P.L. , c. (C. )(pending before the Legislature as this bill).
         11
         12      7. (New section) Places where the carrying of a weapon is
         13   prohibited.
         14      a. Except as otherwise provided in this section, it shall be a crime
         15   of the third degree for any person, other than a person lawfully
         16   carrying a firearm within the authorized scope of an exemption set
         17   forth in N.J.S.2C:39-6 and only to the extent permitted by the entity
         18   responsible for security at the place in question, to knowingly carry a
         19   weapon, as defined in subsection r. of N.J.S.2C:39-1, in any of the
         20   following places, including in or upon any part of the buildings,
         21   grounds, or parking area of:
         22      (1) a place owned, leased, or under the control of State, county or
         23   municipal government used for the purpose of government
         24   administration, including but not limited to police stations;
         25      (2) a courthouse, courtroom, or any other premises used to conduct
         26   judicial or court administrative proceedings or functions;
         27      (3) a State, county, or municipal correctional or juvenile justice
         28   facility, jail and any other place maintained by or for a governmental
         29   entity for the detention of criminal suspects or offenders;
         30      (4) a State-contracted half-way house;
         31      (5) a location being used as a polling place during the conduct of an
         32   election;
         33      (6) within 100 feet of a place where a public gathering,
         34   demonstration or event is held for which a government permit is
         35   required, during the conduct of such gathering, demonstration or
         36   event;
         37      (7) a school, college, university or other educational institution, and
         38   on any school bus;
         39      (8) a child care facility or day care center;
         40      (9) a nursery school, pre-school, zoo, or summer camp;
         41      (10) a park, beach, recreation facility or area or playground owned
         42   or controlled by a State, county or local government unit, or any part
         43   of such a place, which is designated as a gun free zone by the
         44   governing authority based on considerations of public safety;
         45      (11) at youth sports events, as defined in N.J.S.5:17-1, during and
         46   immediately preceding and following the conduct of the event;
         47      (12) a publicly owned or leased library or museum;
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          1      (13) a shelter for the homeless, emergency shelter for the homeless,
          2   basic center shelter program, shelter for homeless or runaway youth,
          3   children’s shelter, child care shelter, shelter for victims of domestic
          4   violence, or any shelter under the control of the Juvenile Justice
          5   Commission or the Department of Children and Families;
          6      (14) a community residence for persons with developmental
          7   disabilities, head injuries, or terminal illnesses, or any other residential
          8   setting licensed by the Department of Human Services or Department
          9   of Health;
         10      (15) a bar or restaurant where alcohol is served, and any other site
         11   or facility where alcohol is sold for consumption on the premises;
         12      (16) a site or facility where cannabis is sold for consumption on the
         13   premises;
         14      (17) a privately or publicly owned and operated entertainment
         15   facility within this State, including but not limited to a theater,
         16   stadium, museum, arena, racetrack or other place where performances,
         17   concerts, exhibits, games or contests are held;
         18      (18) a casino and related facilities, including but not limited to
         19   appurtenant hotels, retail premises, restaurant and bar facilities, and
         20   entertainment and recreational venues located within the casino
         21   property;
         22      (19) a plant or operation that produces, converts, distributes or
         23   stores energy or converts one form of energy to another;
         24      (20) an airport or public transportation hub;
         25      (21) a health care facility, including but not limited to a general
         26   hospital, special hospital, mental hospital, public health center,
         27   diagnostic center, treatment center, rehabilitation center, extended care
         28   facility, skilled nursing home, nursing home, intermediate care facility,
         29   tuberculosis hospital, chronic disease hospital, maternity hospital,
         30   outpatient clinic, dispensary, assisted living center, home health care
         31   agency or residential health care facility;
         32      (22) a facility licensed or regulated by the Department of Human
         33   Services or Department of Health, other than a health care facility, that
         34   provides addiction or mental health treatment or support services;
         35      (23) a public location being used for making motion picture or
         36   television images for theatrical, commercial or educational purposes,
         37   during the time such location is being used for that purpose;
         38      (24) private property, including but not limited to residential,
         39   commercial, industrial, agricultural, institutional or undeveloped
         40   property, unless the owner has provided express consent or has posted
         41   a sign indicating that it is permissible to carry on the premises a
         42   concealed handgun with a valid and lawfully issued license under
         43   N.J.S.2C:58-4; and
         44      (25) any other place in which the carrying of a handgun is
         45   prohibited by statute or rule or regulation promulgated by a federal or
         46   State agency or by municipal ordinance or regulation.
         47      b. (1) A person, other than a person lawfully carrying a firearm
         48   within the authorized scope of an exemption set forth in subsection a.
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          1   or c. of N.J.S.2C:39-6, who is otherwise authorized under the law to
          2   carry or transport a firearm shall not do so while in a vehicle in New
          3   Jersey, unless the handgun is unloaded and contained in a closed and
          4   securely fastened case, gunbox, or locked unloaded in the trunk of the
          5   vehicle.
          6       (2) A holder of a valid and lawfully issued permit to carry a
          7   handgun shall not leave a handgun outside of their immediate
          8   possession or control within a parked vehicle, unless the handgun is
          9   unloaded and contained in a closed and securely fastened case, or
         10   gunbox, and is not visible from outside of the vehicle, or is locked
         11   unloaded in the trunk or storage area of the vehicle.
         12       A violation of paragraph (1) or (2) of this subsection is a crime of
         13   the fourth degree.
         14       c. Notwithstanding the provisions of subsections a. and b. of this
         15   section, the holder of a valid and lawfully issued permit to carry under
         16   N.J.S.2C:58-4 who is otherwise prohibited under this section from
         17   carrying a concealed firearm into the parking area of a prohibited
         18   location specified in subsection a. of this section shall be permitted to:
         19       (1) transport a concealed handgun or ammunition within a vehicle
         20   into or out of the parking area, provided that the handgun is unloaded
         21   and contained in a closed and securely fastened case, gunbox, or
         22   locked unloaded in the trunk or storage area of the vehicle;
         23       (2) store a handgun or ammunition within a locked lock box and out
         24   of plain view within the vehicle in the parking area;
         25        (3) transport a concealed handgun in the immediate area
         26   surrounding their vehicle within a prohibited parking lot area only for
         27   the limited purpose of storing or retrieving the handgun within a
         28   locked lock box in the vehicle’s trunk or other place inside the vehicle
         29   that is out of plain view; and
         30       (4) transport a concealed handgun from a vehicle parked within a
         31   prohibited parking lot area to a place other than a prohibited place
         32   enumerated in subsection a. of this section, provided that the person
         33   immediately leaves the parking lot area and does not enter into or on
         34   the grounds of the prohibited place with the handgun.
         35       d. The holder of a valid and lawfully issued permit to carry under
         36   N.J.S.2C:58-4 shall not be in violation of subsection a. of this section
         37   while the holder is traveling along a public right-of-way that touches
         38   or crosses any of the places enumerated in subsection a. of this section
         39   if the concealed handgun is carried on their person in accordance with
         40   the provisions of this act or is being transported in a vehicle by the
         41   permit holder in accordance with all other applicable provisions of
         42   law.
         43       e. (1) Nothing in this act shall be construed to prohibit the holder
         44   of a valid and lawfully issued permit under N.J.S.2C:58-4 who is
         45   lawfully authorized to provide security at a place enumerated in
         46   subsection a. of this section from carrying a firearm, openly or
         47   concealed, provided that the authorization is set forth in writing, and
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          1   only to the extent permitted by the entity responsible for security at the
          2   place in question.
          3      (2) Unless otherwise required or prohibited by law, the owner or
          4   entity in control of any place enumerated in subsection a. of this
          5   section or owner or entity responsible for providing security may allow
          6   or prohibit retired law enforcement officers who are authorized to
          7   possess and carry a handgun pursuant to subsection l. of N.J.S.2C:39-6
          8   or qualified retired law enforcement officers within the meaning of
          9   the federal “Law Enforcement Officers Safety Act of 2004,” Pub.L.
         10   108-277 to carry a concealed handgun on the premises of such place.
         11      f. Nothing in this section shall prohibit the carrying of a firearm
         12   where it is otherwise expressly authorized by law.
         13
         14       8. (New section) A person purchasing a firearm or firearm
         15   ammunition shall be required to disclose in a written document under
         16   penalty, on a form prescribed by the superintendent, whether the
         17   firearm or ammunition to be purchased is intended to be transferred to
         18   a third party, and the name and address of that third party, if known.
         19
         20       9. (New section) Notwithstanding any provision of the
         21   “Administrative Procedure Act,” P.L.1968, c.410 (C.52:14B-1 et seq.)
         22   to the contrary, the Superintendent of State Police may adopt
         23   immediately upon filing with the Office of Administrative Law such
         24   regulations as the Superintendent deems necessary to implement the
         25   provisions of this act, which shall be effective for a period not to
         26   exceed 18 months, and may thereafter be amended, adopted, or
         27   readopted by the Superintendent in accordance with the requirements
         28   of the “Administrative Procedure Act,” P.L.1968, c.410 (C.52:14B-1
         29   et seq.).
         30
         31      10. Sections 2 and 7 of this act shall take effect immediately,
         32   section 8 of this act shall take effect on the first day of second month
         33   next following the date of enactment, and the remainder of this act
         34   shall take effect on the first day of the seventh month next following
         35   the date of enactment, but the Attorney General, Superintendent of
         36   State Police, and Commissioner of Banking and Insurance may take
         37   such anticipatory action as is necessary for the implementation of
         38   this act.
         39
         40
         41                                STATEMENT
         42
         43      This bill removes from current law the justifiable need standard,
         44   which is necessary to hold a permit to carry a handgun in this State,
         45   in accordance with a recent decision of the United States Supreme
         46   Court in New York State Rifle & Pistol Association v Bruen. In
         47   addition, the bill establishes certain criteria for obtaining a permit to
         48   carry a handgun and codifies certain venues at which the right to
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          1   carry firearms would be restricted due to security and safety
          2   concerns.
          3       Under current law, in order to lawfully carry a handgun in
          4   public, it is necessary for a private citizen to obtain a permit to
          5   carry a handgun. Applicants for a permit to carry a handgun need
          6   the approval of the chief of police in the municipality where they
          7   reside and the approval of a Superior Court judge in the county
          8   where they reside. Approval is contingent upon a person submitting,
          9   along with the application, a written certification establishing
         10   justifiable need. Justifiable need is defined as the urgent necessity
         11   for self-protection, as evidenced by specific threats or previous
         12   attacks which demonstrate a special danger to the applicant's life
         13   that cannot be avoided by means other than by issuance of a permit
         14   to carry a handgun. This bill eliminates the justifiable need
         15   standard.
         16       The bill also expands the disqualifying criteria that would
         17   prohibit a person from obtaining a firearm purchaser identification
         18   card (FPIC), permit to purchase a handgun (PPH), or permit to carry
         19   a handgun. Under current law, a person who receives these
         20   documents is required to be of “good character” and “good repute” in
         21   the community and not subject to any of the disqualifying criteria
         22   listed in subsection c. of N.J.S.2C:58-3. The bill expands the list of
         23   disqualifying criteria to include:
         24         persons presently confined for a mental disorder as a voluntary
         25           admission or involuntary commitment for inpatient or
         26           outpatient treatment;
         27         persons who have violated a temporary or final restraining
         28           order issued pursuant to the “Prevention of Domestic
         29           Violence Act of 1991” or a temporary or final domestic
         30           violence restraining order issued in another jurisdiction
         31           prohibiting the person from possessing any firearm;
         32         persons who are subject to or have violated a temporary or
         33           final restraining order issued pursuant to the “Sexual Assault
         34           Survivor Protection Act of 2015”;
         35         persons who have previously been voluntarily admitted or
         36           involuntarily committed to inpatient or outpatient mental health
         37           treatment, unless the court has expunged the person’s record;
         38         persons who are subject to an outstanding arrest warrant for an
         39           indictable crime in this State or for a felony in any other state
         40           or federal jurisdiction. This provision would not include
         41           individuals seeking reproductive health care services in this
         42           State ;
         43         persons who are a fugitive from justice due to having fled from
         44           any state or federal jurisdiction to avoid prosecution for a crime
         45           or to avoid giving testimony in any criminal proceeding. This
         46           provision would not include individuals seeking reproductive
         47           health care services in this State ; and
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          1          persons who are convicted of a fourth degree crime for
          2           violating the handgun carry requirements established under the
          3           bill.
          4       The bill also makes several changes to the procedure for applying
          5   for an FPIC or PPH. Under the bill, an applicant would be required to
          6   provide any aliases or other names previously used by the applicant.
          7   A PPH applicant also would be required to indicate, with respect to
          8   each handgun listed on the form, whether the applicant is purchasing
          9   the handgun on the applicant’s own behalf or on behalf of a third
         10   party. In addition, the bill increases the fee to obtain an FPIC from
         11   two dollars to $25. The fee for the PPH would be increased from
         12   five dollars to $50.
         13       In addition, this bill renders a recent enactment (P.L.2022, c.58),
         14   which requires FPICs to display a picture and thumb print,
         15   inoperative until the Superintendent of State Police establishes a
         16   system for issuing these cards. The bill also clarifies that the FPIC
         17   would be electronically linked to the fingerprints of the card holder,
         18   rather than displaying a thumb print.
         19       The bill also codifies the electronic method for reporting
         20   handgun sales. Under current law, the PPH is issued as a
         21   quadruplicate document. A firearm retailer is required to complete
         22   all four of the documents prior to selling a handgun and send the
         23   first copy to Superintendent of State Police and the second copy to
         24   the chief of police of the municipality in which the purchaser
         25   resides. The third copy is retained by the retail dealer and may be
         26   subject to inspection by law enforcement at any reasonable time.
         27   The purchaser retains the fourth copy as a permanent record. This
         28   bill codifies the current procedure established by the State Police,
         29   which established a web portal for electronically reporting handgun
         30   sales. The bill also requires that handgun transfers between or
         31   among immediate family members, law enforcement officers, or
         32   collectors of firearms or ammunition as curios or relics are to be
         33   conducted via the web portal.
         34       In addition, the bill revises the application process for obtaining
         35   a permit to carry a handgun. Under current law, a person applying
         36   for a permit to carry a handgun is required to provide endorsements
         37   from three people who have known the applicant for at least three
         38   years and can attest that he or she is of good moral character and
         39   behavior. The bill requires an applicant to provide endorsements
         40   from five people who are unrelated to the applicant. The persons
         41   providing the endorsement are to provide relevant information,
         42   including the nature and extent of their relationship with the
         43   applicant and information concerning their knowledge of the
         44   applicant’s use of drugs or alcohol. The bill also requires the chief
         45   of police or superintendent, as appropriate, to interview the
         46   applicant and persons providing the endorsement. The interviewer
         47   is to inquire whether the applicant is likely to engage in conduct
         48   that would result in harm to the applicant or others. Additionally,
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          1   the interviewer is to inquire whether the applicant has any history of
          2   threats or acts of violence by the applicant directed toward self or
          3   others or any history of use, attempted use, or threatened use of
          4   physical force by the applicant against another person, or other
          5   incidents implicating the criteria that would disqualify a person
          6   from obtaining a FPIC or PPH. The chief of police or the
          7   superintendent also may require information from the applicant or
          8   any other person pertaining to publicly available statements posted
          9   or published online by the applicant. The bill also extends the time
         10   frame which the superintendent or chief of police is required to
         11   approve or deny an application for a permit to carry a handgun
         12   application from 60 to 90 days.
         13      The bill also requires the Superintendent of State Police to
         14   establish a training requirement in the lawful and safe handling and
         15   storage of firearms for persons who obtain a permit to carry a
         16   handgun. The training requirement is to consist of an online course
         17   of instruction, in-person classroom instruction, and target training.
         18   The training is to include, but not be limited to, demonstration of a
         19   level of proficiency in the use of a handgun in such manner as
         20   required by the superintendent and training on justification in the
         21   use of deadly force under State law. The bill requires the training to
         22   include demonstration of a level of proficiency in the use of a
         23   handgun in a manner as may be required by the superintendent and
         24   training on justification in the use of deadly force under State law.
         25   A person who obtained a permit to carry a handgun prior to the
         26   bill’s effective date would be required to complete the classroom
         27   instruction and target training within 90 days of the bill’s effective
         28   date.
         29      In addition, the application fee for the permit to carry a handgun
         30   would be $200. In the case of an application made to the chief
         31   police officer of a municipality, $150 of the fee is to be retained by
         32   the municipality and the remaining $50 is to be forwarded to the
         33   superintendent. The fee amount retained by the municipality is to
         34   be used to defray the costs of investigation, administration, and
         35   processing of the permit to carry handgun applications. Application
         36   fees made to the superintendent are to be deposited into the Victims
         37   of Crime Compensation Office account. The bill also provides that
         38   mayors and elected members of a municipal governing body are to
         39   apply to the superintendent, rather than the chief law enforcement
         40   officer, when applying for a permit to carry a handgun.
         41      Under the bill, the permit would be issued to the applicant
         42   electronically through email or through the web portal established
         43   or designated for this purpose by the superintendent, or in such
         44   form or manner as may be authorized by the superintendent. Prior
         45   to issuing the permit, the chief of police or superintendent is
         46   required to determine whether:
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          1          the applicant is a person of good character who is not subject
          2           to any of the disabilities prohibiting the person from
          3           purchasing a firearm;
          4        has not been convicted of a crime of the fourth degree in
          5           violation of the carry permit requirements established by the
          6           bill;
          7        is thoroughly familiar with the safe handling and use of
          8           handguns; and
          9        is in compliance with the firearm carry liability insurance
         10           established by the bill.
         11      The bill requires a private citizen who obtains a carry permit to
         12   obtain public carry liability insurance. The bill requires the liability
         13   insurance coverage to insure against loss resulting from liability
         14   imposed by law for bodily injury, death, and property damage
         15   sustained by any person arising out of the ownership, maintenance,
         16   operation or use of a firearm carried in public. The bill requires the
         17   coverage to be at least in:
         18        an amount or limit of $100,000, exclusive of interest and
         19           costs, on account of injury to, or death of, one person, in
         20           any one incident;
         21        an amount or limit, subject to such limit for any one person
         22           so injured or killed, of $300,000, exclusive of interest and
         23           costs, on account of injury to or death of, more than one
         24           person, in any one incident; and
         25        an amount or limit of $25,000, exclusive of interest and
         26           costs, for damage to property in any one incident.
         27      The holder of a permit to carry a handgun would be required to
         28   produce and display proof of insurance upon request to any law
         29   enforcement officer or to any person who has suffered or claims to
         30   have suffered either injury or property damage arising out of the
         31   ownership, maintenance, operation or use of a firearm carried in
         32   public.
         33      In addition, the bill requires persons who obtain a permit to carry a
         34   handgun to adhere to certain requirements. Under the bill, a person
         35   with a carry permit would prohibited from:
         36        using or consuming alcohol, a cannabis item, or a controlled
         37           substance while carrying a handgun;
         38        being under the influence of alcohol, cannabis, or a
         39           controlled substance while carrying a handgun;
         40        carrying a handgun not authorized under the permit;
         41        carrying a handgun outside of a holster or in an unauthorized
         42           holster;
         43        carrying more than two firearms under the permittee’s
         44           control at one time;
         45        engaging in an unjustified display of a handgun;
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          1          if carrying a handgun in public, failing to display the permit
          2           to carry a handgun and proof of firearm public carry liability
          3           insurance upon request of a law enforcement officer; or
          4        if carrying a handgun in public, refusing to provide the
          5           handgun to a law enforcement officer upon request for
          6           purposes of inspecting the handgun.
          7      A person who violates these requirements would be guilty of a
          8   crime of the fourth degree. A violation also may serve as sufficient
          9   grounds for revocation of a permit to carry a handgun.
         10      The bill provides that when stopped by a law enforcement officer a
         11   permit holder would be required to immediately disclose to the officer
         12   that the permit holder is carrying a handgun in public and display
         13   proof of liability insurance. A person who fails to disclose to a law
         14   enforcement officer that they are carry a handgun would be guilty of a
         15   fourth degree crime. A person who fails to display proof of firearm
         16   public carry liability insurance would be guilty of a disorderly persons
         17   offense and subject to a $100 fine and guilty of a crime of the fourth
         18   degree for a second or subsequent offense.
         19      The bill also delineates places in which a permit holder would be
         20   prohibited from carrying a handgun. Under the bill, it would be a third
         21   degree crime to carry any firearm or weapon in the following
         22   locations:
         23        a place owned, leased, or under the control of State, county, or
         24           municipal government used for the purpose of government
         25           administration, including but not limited to police stations;
         26        a courthouse, courtroom, or any other premises used to conduct
         27           judicial or court administrative proceedings or functions;
         28        a State, county, or municipal correctional or juvenile justice
         29           facility, jail and any other place maintained by or for a
         30           governmental entity for the detention of criminal suspects or
         31           offenders;
         32        a State-contracted half-way house;
         33        a location being used as a polling place during the conduct of
         34           an election;
         35        a place where a public gathering, demonstration, or event is
         36           held for which a government permit is required, during the
         37           conduct of such gathering, demonstration, or event;
         38        a school, college, university, or other educational institution
         39           and on any school bus;
         40        a child care facility or day care center;
         41        a nursery school, pre-school, zoo, or summer camp;
         42        a park, beach, recreation facility, or area or playground owned
         43           or controlled by a State, county or local government unit;
         44        at youth sports events during and immediately preceding and
         45           following the conduct of the event;
         46        a publicly owned or leased library or museum;
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          1         a shelter for the homeless, emergency shelter for the homeless,
          2          basic center shelter program, shelter for homeless or runaway
          3          youth, children’s shelter, child care shelter, shelter for victims
          4          of domestic violence, or any shelter under the control of the
          5          Juvenile Justice Commission or the Department of Children
          6          and Families;
          7       a community residence for persons with developmental
          8          disabilities, head injuries, or terminal illnesses, or any other
          9          residential setting licensed by the Department of Human
         10          Services or Department of Health;
         11       a bar or restaurant where alcohol is served, and any other site
         12          or facility where alcohol is sold for consumption on the
         13          premises;
         14       a site or facility where cannabis is sold for consumption on the
         15          premises;
         16       a privately or publicly owned and operated entertainment
         17          facility within this State, including but not limited to a theater,
         18          stadium, museum, arena, racetrack, or other place where
         19          performances, concerts, exhibits, games, or contests are held;
         20       a casino and related facilities, including but not limited to
         21          appurtenant hotels, retail premises, restaurant, and bar
         22          facilities, and entertainment and recreational venues located
         23          within the casino property;
         24       a plant or operation that produces, converts, distributes, or
         25          stores energy or converts one form of energy to another;
         26       an airport or public transportation hub;
         27       a health care facility and any facility licensed or regulated by
         28          the Department of Human Services or Department of Health,
         29          other than a health care facility, that provides addiction or
         30          mental health treatment or support services;
         31       a public location being used for making motion picture or
         32          television images for theatrical, commercial or educational
         33          purposes, during the time such location is being used for that
         34          purpose;
         35       private property, including but not limited to residential,
         36          commercial, industrial, agricultural, institutional, or
         37          undeveloped property, unless the owner has provided express
         38          consent or has posted a sign indicating that it is permissible to
         39          carry on the premises a concealed handgun with a valid and
         40          lawfully issued permit to carry; and
         41       any other place in which the carrying of a handgun is
         42          prohibited by statute or rule or regulation promulgated by a
         43          federal or State agency or by municipal ordinance or
         44          regulation.
         45      The bill also requires the holder of a permit to carry a handgun to
         46   adhere to certain requirements while transporting the handgun in a
         47   vehicle.
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          1      Finally, the bill requires a person purchasing a firearm or firearm
          2   ammunition to disclose in a written document under penalty of perjury
          3   whether the firearm or ammunition to be purchased is intended to be
          4   transferred to a third party, and the name and address of the third
          5   party, if known.
